      6:13-cv-00516-SPS Document 39 Filed in ED/OK on 03/16/15 Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF OKLAHOMA

(1) DONITA BARNES, individually                     )
    and as next of kin of CYNTHIA KAY               )
    HORTON, deceased,                               )
                                                    )
                               Plaintiff,           )
vs.                                                 )     Case No. CIV-13-516-SPS
                                                    )
(1) UNITED STATES OF AMERICA,                       )
                                                    )
                               Defendant.           )

                    PLAINTIFF’S DESIGNATION OF PORTIONS OF
                       DEPOSITION OF SALLY BERGER, M.D.

       The Plaintiff, Donita Barnes, anticipates introducing the following excerpts of the video

deposition of Sally Berger, M.D.:

1.     Page 4, Lines 6 – 12

2.     Page 7, Line 12 through Page 8, Line 4

3.     Page 11, Line 24 through Page 13, Line 8

4.     Page 13, Lines 12 – 23

5.     Page 14, Lines 6 – 11

6.     Page 17, Line 21 through Page 18, Line 2

7.     Page 18, Line 14 through Page 19, Line 10

8.     Page 30, Lines 14 – 19

9.     Page 31, Line 7 through Page 33, Line 23

10.    Page 34, Lines 2 – 8

11.    Page 35, Line 14 through Page 44, Line 11

12.    Page 45, Lines 14- 19




                                                1
      6:13-cv-00516-SPS Document 39 Filed in ED/OK on 03/16/15 Page 2 of 3



13.    Page 46, Line 21 through Page 47, Line 17

14.    Page 49, Line 24 through Page 51, Line 18

15.    Page 52, Line 1 through Page 54, Line 12

16.    Page 54, Line 20 through Page 60, Line 15

17.    Page 61, Line 9 through Page 62, Line 17

18.    Page 63, Line 12 through Page 65, Line 16

19.    Page 66, Lines 12 – 19

20.    Page 71, Line 24 through Page 73, Line 21

21.    Page 74, Line 4 through Page 75, Line 23

22.    Page 77, Lines 9 – 20

23.    Page 79, Line 18 through Page 80, Line 3



                                           Respectfully submitted,

                                              /s/ S. Randall Sullivan
                                           S. Randall Sullivan, OBA No. 11179
                                           RANDALL SULLIVAN, P.C.
                                           1900 N.W. Expressway, Suite 605
                                           Oklahoma City, Oklahoma 73118
                                           (405) 236-2264
                                           (405) 236-2193(Fax)
                                           randy@sullivanlawcenter.com

                                           ATTORNEYS FOR PLAINTIFF
     6:13-cv-00516-SPS Document 39 Filed in ED/OK on 03/16/15 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 16, 2015, I electronically filed the foregoing with the Clerk
of Court using the ECF System. Based on the records currently on file, the Clerk of Court will
transmit a Notice of Electronic Filing to the following ECF registrants:

       susan.brandon@usdoj.gov


                                                /s/ S. Randall Sullivan
                                             S. Randall Sullivan
